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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

                                                       )
RENE JUNK, as Parent and Next                          )
Best Friend of T.J., a Minor,                          )
                                                       )
                                Plaintiff,             )
                                                       )
vs.                                                    )    Case No. 4:05-cv-00608
                                                       )
TERMINIX INTERNATIONAL COMPANY                         )
LIMITED PARTNERSHIP,                                   )
THE DOW CHEMICAL COMPANY,                              )
DOW AGROSCIENCES LLC,                                  )
HAROLD OBRECHT, an individual,                         )
JIM BRENEMAN, an individual, and                       )
SURECO, Inc.,                                          )
                                                       )
                                Defendants.            )
                                                       )

         DEFENDANTS THE DOW CHEMICAL COMPANY’S AND
  DOW AGROSCIENCES LLC’S MOTION TO EXCLUDE EXPERT CAUSATION
 TESTIMONY OF CYNTHIA BEARER, M.D. AND MOHAMED ABOU-DONIA, PH.D
                  AND FOR SUMMARY JUDGMENT

         Pursuant to Local Rule 7(h), Defendants The Dow Chemical Company and Dow

AgroSciences LLC (collectively, “DAS”) respectfully request that the Court grant their motion

to exclude the expert causation testimony of Cynthia Bearer, M.D. and Mohamed Abou-Donia,

Ph.D. DAS further requests that the Court grant summary judgment in their favor because

Plaintiff’s experts’ methodologies and testimony are unreliable and inadmissible under Fed. R.

Evid. 702 and Plaintiff therefore lacks any admissible testimony on the essential element of

causation. In support of this motion, DAS states as follows:

      1. Plaintiff contends that T.J.’s cerebral palsy and resulting neurodevelopmental delay was

caused by Rene Junk’s and T.J.’s alleged in utero and post natal exposure to chlorpyrifos, the




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active ingredient in a Dursban L.O., a pesticide manufactured and formulated by DAS and

applied by Terminix in the Junk’s home in March 1992 through the fall of 1994. T.J. was born

in August 1992 two months premature. Rene Junk’s pregnancy was marked by the discovery of

a large umbilical cord tumor (chorioangioma) in the sixth month of her pregnancy.

      2. Plaintiff’s medical causation experts, Cynthia Bearer, M.D., a medical doctor, and

Mohamed Abou-Donia, Ph.D., an agricultural chemist and toxicologist, have proffered the

opinions that exposure to chlorpyrifos after a residential crack and crevice application is capable

of causing cerebral palsy and resulting neurodevelopmental delay (“general causation”), and that

T.J.’s alleged exposure to chlorpyrifos did in fact cause his cerebral palsy and resulting

neurodevelopmental delay (“specific causation”).

      3. The methodologies used by Drs. Bearer and Abou-Donia, and the general causation

opinions that they derive from those methodologies, are speculative and unreliable. The

methodologies used by both Drs. Bearer and Abou-Donia ignore the great weight of evidence

establishing that chlorpyrifos exposure is not associated with either prematurity, chorioangioma,

cerebral palsy or neurodevelopmental delay. Plaintiff’s experts’ methods fail to satisfy Rule 702

or any of the factors articulated in Daubert v. Merrill Dow Pharm., 509 U.S. 579 (1993) and its

progeny.

      4. In addition, Drs. Bearer and Abou-Donia failed to utilize the generally accepted

methodology for determining specific causation by failing to rule out other identified causes of

T.J.’s cerebral palsy, including prematurity and the presence of a large chorioangioma, and by

ignoring exposure, dose and the dose-response relationship.




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    Trademark of Dow AgroSciences LLC.


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   5. Plaintiff has failed to satisfy her burden of proving the admissibility of her experts’

methods by a preponderance of the evidence.

   6. Because Plaintiff has no admissible expert causation testimony, and because such

evidence is an essential element of Plaintiff’s claims against DAS, Plaintiff’s claims fail and

DAS is entitled to summary judgment.

   7. In further support, DAS files contemporaneously herewith its unopposed motion pursuant to

LR 7h for leave to file a supporting brief consisting of 65 pages of text, and attached thereto DAS’

supporting memorandum in support of this motion.

   8. DAS also files contemporaneously herewith its Evidentiary Appendix in support of this

motion.

       WHEREFORE, DAS, for the reasons stated above as well as those set forth in DAS’

supporting memorandum and evidentiary appendix, respectfully request that the Court exclude

the expert causation testimony of Cynthia Bearer, M.D. and Mohamed Abou-Donia, Ph.D. and

grant summary judgment in the favor of DAS and award DAS all other just and proper relief.

                                                       Respectfully submitted,


                                                       By: /s/ Joseph G. Eaton
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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a copy of the foregoing document has been served

this 12th day of May, 2008, was filed electronically with the Clerk of Court to be served by

operation of the Court’s electronic filing system to the following counsel of record:

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